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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,                      )
                                               )
                                               )
v.                                             )         Case No. 17 CR 518
                                               )         Judge Kennelly
                                               )
HEATHER MACK,                          )
                                               )
                                               )
Defendant.                                     )

       DEFENDANT’S MOTION FOR BOND/RELEASE FROM CUSTODY PENDING
       TRIAL, WITH CONDITIONS

       Defendant, Heather Mack, by and through her undersigned counsel, respectfully moves

this Court for release from custody/bond pending trial, and states as follows:

       1. Ms. Mack has already served a lengthy sentence in a foreign nation (Bali), after first

being detained during the pendency of those proceedings.

       2. Upon Ms. Mack’s completion of that lengthy period of incarceration, Ms. Mack

voluntarily agreed to return to the United States to face the charges at issue in the present case.

       3. Subsequently, Ms. Mack has been detained at the MCC, including in extremely

difficult COVID conditions.

       4. Ms. Mack poses no risk of flight, and does not present any danger to the community.

       5. With respect to the issue of risk of flight. Here, upon information and belief, Ms.

Mack’s passport has been forfeited (or can be, if it is not already in the possession of Pre-Trial

Services). Moreover, Ms. Mack has no means to travel.

       6. Further, any perceived risk of flight can be mitigated by electronic monitoring, home

confinement, or other conditions of pre-trial release.
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        7. In addition, Ms. Mack’s counsel proposes that Ms. Mack live with a third-party

custodian, and counsel is providing the contact information for that individual to Pre-Trial

Services – as well as providing the identity of that proposed individual to the Government.

        8. With respect to the issue of danger to the community, Ms. Mack poses none.

        9. Apart from the long-standing conflict that Ms. Mack had with her mother prior to her

mother’s death, Ms. Mack had absolutely no record of presenting any danger to anyone. She has

no criminal history, apart from the foreign conviction which arises out of the same issues

presented in this case.

        10. Moreover, again, any such concerns regarding Ms. Mack purportedly posing a danger

to the community can be mitigated by the above-referenced conditions, i.e., electronic

monitoring, home confinement, or other conditions of pre-trial release, and by way of a third-

party custodian.

        11. Clearly, Defendants with much more extensive criminal histories have been granted

pre-trial release, with conditions, in this District.




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       WHEREFORE, Ms. Mack, by and through her undersigned counsel, respectfully

requests the entry of an Order granting her pre-trial release from custody, with conditions set by

this Court, and for such other and further relief as this Court deems appropriate.




                                      RESPECTFULLY SUBMITTED,

                                      By: s/Michael I. Leonard
                                         Counsel for Ms. Mack



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                              CERTIFICATE OF SERVICE

        The undersigned states that, on November 21, 2022, he caused the above to be served on
all counsel of record by way of ECF filing.



                                      RESPECTFULLY SUBMITTED,

                                      By: s/Michael I. Leonard
                                         Counsel for Ms. Mack




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